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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                            )   Civil Action
PRESIDENT, INC.; et al.,                       )
                                               )
               Plaintiffs,                     )
                                               )   No.: 2-20-CV-966
       v.                                      )
                                               )
KATHY BOOCKVAR; et al.,                        )
                                               )
               Defendants.                     )   Judge J. Nicholas Ranjan


                                ENTRY OF APPEARANCE


TO THE CLERK:
Kindly enter my appearance in this case as counsel for Defendant Lancaster County Board of
Elections.


                                                   Respectfully submitted,

                                                   By /Christina L. Hausner/

                                                   Christina L. Hausner, Bar ID No. 32373
                                                   Motion for admission pro hac vice pending
                                                   Lancaster County Solicitor
                                                   150 North Queen Street, Suite #714
                                                   Lancaster, PA 17603
                                                   Tel: 717-735-1584
                                                   Fax: 717-293-7208
                                                   CHausner@co.lancaster.pa.us

Date: July 13, 2020                                Attorney for Lancaster County Board of
                                                   Elections
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this day, a true and correct copy of the foregoing document was filed

electronically. Notice of this filing will be sent to all registered parties by operation of the Court’s

electronic filing system.



                                                         Respectfully submitted,

                                                         By/Christina L. Hausner/

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Date: July 13, 2020                                      Attorney for Lancaster County Board of
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